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                                               CORRECTED




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0980V
                                        UNPUBLISHED


    KIMBERLY AXELROD,                                       Chief Special Master Corcoran

                        Petitioner,
    v.                                                      Filed: October 25, 2022

    SECRETARY OF HEALTH AND                                 Special Processing Unit (SPU);
    HUMAN SERVICES,                                         Ruling on Entitlement; Findings of
                                                            Fact; Severity; Site of Vaccination;
                       Respondent.                          Onset; Influenza (Flu); Shoulder
                                                            Injury    Related     to   Vaccine
                                                            Administration (SIRVA).

LeeAnne Pedrick, Maglio, Christopher, & Toale PA, Washington, DC, for Petitioner.

Nina Ren, U.S. Department of Justice, Washington, DC, for Respondent.

                                        FINDINGS OF FACT1

       On February 22, 2021, Kimberly Axelrod filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that as a result of receiving the influenza (“flu”) vaccine
on September 22, 2020, she suffered a left-sided shoulder injury related to vaccine
administration (“SIRVA”) as defined on the Vaccine Injury Table (the “Table”). Petition
(ECF No. 1) at Preamble. The case was assigned to the Special Processing Unit (“SPU”)
of the Office of Special Masters.


1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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   For the reasons discussed below, I find that the flu vaccine was most likely
administered in Petitioner’s left arm; her injury persisted for more than six months; and
onset occurred within 48 hours.

      I.        Relevant Procedural History

       Three months after the case’s imitation, Ms. Axelrod filed medical records, a
declaration,3 and other materials needed to evaluate what records should be filed to
substantiate the claim (Exs. 1-22). On October 20, 2021, I deemed the record complete
pursuant to Section 11(c) of the Vaccine Act. However, I noted a discrepancy between
Petitioner’s allegations and one contemporaneous record indicating a right-sided vaccine
administration (Ex. 12 at 5, 7, 9). PAR Activation Order (ECF No. 13). On January 3,
2022, Petitioner filed an Amended Petition (ECF No. 18), as well as some supplemental
declarations (Exs. 23-24).

      On March 7, 2022, Respondent offered his preliminary review and analysis of the
case. Status Report (ECF No. 23). Petitioner then filed supplemental contemporaneous
evidence (Ex. 25) and her original declaration unchanged except for a new signature
dated May 19, 2022 (Ex. 26).

       On May 31, 2022, the parties were permitted to file any additional evidence and
briefing on the factual and/or legal issues raised by Respondent, and receive my
resolution thereof, while the case awaited Respondent’s medical review. Scheduling
Order (ECF No. 30). Petitioner was granted additional time. Motion (ECF No. 31); Order
(ECF No. 32); Exs. 27-28. Thereafter on September 1, 2022, Petitioner filed a Motion for
Findings of Fact (“Motion”) (ECF No. 39).4 On September 15, 2022, Respondent filed his
Response in opposition (ECF No. 40). On September 28, 2022, Petitioner filed a Reply
(ECF No. 41). I have determined that resolution of several disputed fact issues is
appropriate and will assist in the case’s ultimate resolution.5

3In each statement submitted to date, the witness declared that his or her statements are true and correct
under penalty of perjury. See 28 U.S.C. § 1746 (providing that such a statement shall carry “like force and
effect” as a notarized affidavit).

4 Also on September 1, 2022, Petitioner reported that she was no longer undergoing formal treatment for
her shoulder as her pain had mostly subsided, and that she had not yet conveyed a demand to Respondent
in light of the identified factual issues. ECF No. 38.

5See also Response at 3 and n. 1-2 (providing that Respondent had not conducted the required medical
analysis of the claim as of September 15, 2022, and estimating that would occur in December 2022).


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     II.       Applicable Legal Standard

         Pursuant to Vaccine Act Section 13(a)(1)(A), a petitioner must prove, by a
preponderance of the evidence, the matters required in the petition by Vaccine Act
Section 11(c)(1). A special master must consider, but is not bound by, any diagnosis,
conclusion, judgment, test result, report, or summary concerning the nature, causation,
and aggravation of petitioner’s injury or illness that is contained in a medical record.
Section 13(b)(1). “Medical records, in general, warrant consideration as trustworthy
evidence. The records contain information supplied to or by health professionals to
facilitate diagnosis and treatment of medical conditions. With proper treatment hanging in
the balance, accuracy has an extra premium. These records are also generally
contemporaneous to the medical events.” Cucuras v. Sec’y of Health & Hum. Servs., 993
F.2d 1525, 1528 (Fed. Cir. 1993).

       Accordingly, where medical records are clear, consistent, and complete, they
should be afforded substantial weight. Lowrie v. Sec’y of Health & Hum. Servs., No. 03-
1585V, 2005 WL 6117475, at *20 (Fed. Cl. Spec. Mstr. Dec. 12, 2005). However, this rule
does not always apply. “Written records which are, themselves, inconsistent, should be
accorded less deference than those which are internally consistent.” Murphy v. Sec’y of
Health & Hum. Servs., No. 90-882V, 1991 WL 74931, *4 (Fed. Cl. Spec. Mstr. April 25,
1991), quoted with approval in decision denying review, 23 Cl. Ct. 726, 733 (1991), aff'd
per curiam, 968 F.2d 1226 (Fed.Cir.1992)). And the Federal Circuit recently “reject[ed] as
incorrect the presumption that medical records are accurate and complete as to all the
patient’s physical conditions.” Kirby v. Sec’y of Health & Hum. Servs., 997 F.3d 1378,
1383 (Fed. Cir. 2021).

        The United States Court of Federal Claims has outlined four possible explanations
for inconsistencies between contemporaneously created medical records and later
testimony: (1) a person’s failure to recount to the medical professional everything that
happened during the relevant time period; (2) the medical professional’s failure to
document everything reported to her or him; (3) a person’s faulty recollection of the events
when presenting testimony; or (4) a person’s purposeful recounting of symptoms that did
not exist. La Londe v. Sec’y of Health & Hum. Servs., 110 Fed. Cl. 184, 203-04 (2013),
aff’d, 746 F.3d 1335 (Fed. Cir. 2014).

       The Court has also said that medical records may be outweighed by testimony that
is given later in time that is “consistent, clear, cogent, and compelling.” Camery v. Sec’y
of Health & Hum. Servs., 42 Fed. Cl. 381, 391 (1998) (citing Blutstein v. Sec’y of Health

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& Hum. Servs., No. 90-2808, 1998 WL 408611, at *5 (Fed. Cl. Spec. Mstr. June 30, 1998).
The credibility of the individual offering such fact testimony must also be determined.
Andreu v. Sec’y of Health & Hum. Servs., 569 F.3d 1367, 1379 (Fed. Cir. 2009); Bradley
v. Sec’y of Health & Hum. Servs., 991 F.2d 1570, 1575 (Fed. Cir. 1993).

       The special master is obligated to fully consider and compare the medical records,
testimony, and all other “relevant and reliable evidence contained in the record.” La
Londe, 110 Fed. Cl. at 204 (citing Section 12(d)(3); Vaccine Rule 8); see also Burns v.
Sec’y of Health & Hum. Servs., 3 F.3d 415, 417 (Fed. Cir. 1993) (holding that it is within
the special master’s discretion to determine whether to afford greater weight to medical
records or to other evidence, such as oral testimony surrounding the events in question
that was given at a later date, provided that such determination is rational).

    III.       Relevant Evidence

       I have reviewed all of the evidence filed to date. This ruling, however, is limited to
determining facts pertaining to disputed factual issues. Accordingly, I will offer only a
limited summary of the relevant facts. Specifically:

       •    Petitioner was thirty-seven (37) years old with a non-contributory medical
            history. She received a flu vaccine in October 2018 in her left arm. Ex. 12 at
            12. She received another flu vaccine in October 2019, but the site is not
            recorded. Ex. 13 at 10. She is right-handed. Id.

       •    On September 22, 2020, at approximately 8:00 a.m., Petitioner presented to
            the Commonwealth Medical Center Urgent Care (“CMC Urgent Care”) clinic in
            Arlington, Virginia. See Ex. 12 at 7-9. Petitioner sought 1) COVID-19 testing
            that was required before a surgical procedure and 2) the subject flu vaccination.
            Ex. 12 at 8.6 She reported no complaints. Id. Her temperature, pulse, and
            oxygen level were normal. Id. at 7. She “stated” her weight and height. Id.
            Physical exam of the eyes, as well as the constitutional, respiratory, and
            cardiovascular systems, was unremarkable. Id. at 8. A rapid antigen test for
            COVID-19 was negative. Id. at 9. She was instructed on “the need to continue
            with protective measures and social distance, mask wearing, etc.” Id.



6See also Ex. 13 at 26-28 (September 9, 2020, orthopedics pre-operative consultation regarding surgery
on her foot).

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        •    During the same CFC urgent care encounter, Petitioner also received the
             subject vaccine. The record reflects: “Site: Arm, Right Upper.” Ex. 12 at 7, 9.
             Yukeenia Malcolm is listed as the “vaccinator.” Id. at 7. However, a physician
             assistant (“PA”), Alison Broadbent, is listed as the provider and signed off on
             the resulting records. Id.

        •    A separate “Data Portability” record reflects receipt of the subject vaccine, but
             no site. Ex. 1 at 3. This record is uncertified, and its origin is unclear. See also
             Exhibit List (ECF No. 36-1) (identifying Ex. 1 only as “Vaccination Record”).

        •    On September 24, 2020, Petitioner underwent surgery on her left foot with local
             sedation. Ex. 13 at 52. Later that day, the orthopedic surgeon telephoned
             Petitioner, answered unspecified questions, and encouraged her to call back
             as needed. Id. at 30. Petitioner was prescribed aspirin, promethazine, and
             Percocet (oxycodone-acetaminophen) for her post-operative foot pain. Id.

        •    No circumstances about the vaccination or the condition of Petitioner’s left
             shoulder are reflected in the records of:

                 o An October 2, 2020, primary care appointment conducted via
                   telemedicine. Ex. 10 at 7-8. At this appointment, Petitioner’s chief
                   complaint was chills, for which the PA could not rule out COVID-19. Id.
                   at 8.

                 o October 2, 2020, and October 24, 2020, orthopedics appointments
                   following up on her recent foot surgery. Ex. 13 at 32-34, 35-37. At each
                   encounter, the current medications list reflected aspirin for pain. Id. at
                   32, 35. On physical exam, review of the musculoskeletal system was
                   limited to the lower extremities. Ex. 13 at 34, 37.7




7 It is also observed that within each orthopedics record (dating from December 2019 – February 2021,
including the specific records noted above), the “Review of Systems” section is positive only for
“Musculoskeletal: Back Pain.” See Ex. 13 at 9, 13, 17, 22, 26, 32, 35, 38, 40, 43, 45, 47, 49. It is likely that
the orthopedist did not utilize this section of the record, relying instead on the “chief complaint” and “HPI”
[history of present illness] sections.


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        o October 13, 2020, and October 22, 2020, chiropractic “routine
          maintenance appointments” for established chief complaints of pain in
          her neck, back, hip, and bilateral trapezius muscles. Ex. 28 at 13-14.

•    Thirty-seven (37) days after vaccination, on October 29, 2020, Petitioner
     attended another primary care appointment via telemedicine. Ex. 10 at 7. The
     PA recorded that Petitioner “got flu shot 5 weeks ago, initially just felt sore;
     since then has sharp pain in left shoulder region,” despite dry needling from a
     chiropractor. Id. The PA did not address the shoulder in the (telemedicine)
     exam, was unsure if the pain was “related to recent injection,” and recorded
     that Petitioner would see her established orthopedist. Id.

•    On November 3, 2020, Petitioner presented to her established orthopedist,
     reporting that since her flu shot five weeks ago, she developed worsening pain
     when doing certain movements with her left shoulder. Ex. 13 at 38. She
     reported that the “usual” pain rated at 5/10, it was qualitatively “moderate,” and
     it improved with rest. Id. On physical exam of the left shoulder, active range of
     motion (“AROM”) was painful at the end ranges. Id. at 39. Hawk in’s and Neer’s
     tests were positive and elicited pain. Id. The orthopedist assessed left shoulder
     impingement syndrome and bursitis, for which he prescribed Voltaren
     (diclofenac sodium extended-release tablets) and recommended a course of
     physical therapy. Id.

•    Petitioner subsequently saw various medical providers for left shoulder pain,
     which she consistently related back to the flu vaccine. See, e.g., Ex. 4 (first PT
     course from November 11 – 24, 2020); Ex. 9 (first PT course from December
     16, 2020 – January 26, 2021); Ex. 4 at 8 (February 2, 2021, orthopedics
     encounter and steroid injection); Ex. 9 at 47-49 (PT encounter documenting “no
     pain” but continued muscle tightness); Ex. 15 (March 17, and March 27, 2021
     PT sessions – representing the last formal medical treatment in evidence, just
     over six months after vaccination).

•    Petitioner submitted an archived version of CMC Urgent Care’s webpage as of
     September 2020, which reflects that the facility was “doing almost exclusively
     [COVID-19] testing and… working to accommodate a large volume of patients.”




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            Ex. 258 at 2. A patient seeking COVID-19 testing should “drive in and pull up
            facing the Urgent Care,” call to report his or her arrival, and wait outside for any
            needed paperwork and for the encounter, which would begin with vitals and the
            COVID-19 test via nasal swab. Id. Afterwards, the provider on duty would come
            out, complete an evaluation, and discuss the test results. Id. at 3-4. CMC
            Urgent Care was continuing to offer other urgent care services including STD
            testing and x-rays. Id. at 5-6. The webpage does not address the availability or
            administration procedures for vaccines.

       •    In a declaration dated January 3, 2022, Petitioner recalled that on September
            22, 2020, she had presented to CMC Urgent Care for the purpose of testing for
            COVID-19. Ex. 23 at ¶¶ 1-2 4. Her husband had to work, so she drove herself
            to the appointment, which was set up as a “drive-through testing center.” Id. at
            ¶ 3. Petitioner avers that she remained in her car, in the driver’s seat, during
            the COVID-19 test and the flu shot. Id. at ¶ 6. This meant that both procedures
            were administered through the driver’s side window, on her left-hand side, and
            that the flu shot was administered in her left shoulder. Id. at ¶¶ 6-7.

       •     Petitioner’s husband, Andrew Axelrod, also offered a declaration dated
            January 3, 2022. He recalls that on September 22, 2020, he went to work rather
            than transporting or otherwise accompanying Petitioner to CMC Urgent Care.
            Ex. 24 at ¶ 3. That evening, Petitioner described the encounter – including
            receiving the COVID-19 test, as well as her flu vaccine in her left arm, while
            remaining in her car. Id. at ¶ 4. He recalls that from that evening forward,
            Petitioner began complaining about her left shoulder and that she began having
            unusual pain and soreness shortly after the vaccination was given. Id. at ¶ 5.

    IV.        Analysis

       A. Severity

      In his preliminary review and analysis, Respondent identified a potential issue
regarding the statutory severity requirement. ECF No. 23, at 2, citing Section


8 The archived webpage is publicly available via “The Wayback Machine.” See Ex. 25 at 1 (citing
https://web.archive.org/web/20200902194902/https://www.urgentcarearlingtonva.com/).    Petitioner
accessed the webpage as of September 2, 2020. Upon review, there were no relevant changes to the
webpage before it was next archived on October 2, 2020.


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11(c)(1)(D)(i). While the parties opted not to brief severity, it is a threshold requirement
for eligibility under the Program. Black v. Sec’y of Health & Hum. Servs., 33 Fed. Cl. 546,
550 (1995) (reasoning that the “potential petitioner” must not only make a prima facie
case, but clear a jurisdictional threshold, by “submitting supporting documentation which
reasonably demonstrates that a special master has jurisdiction to hear the merits of the
case”), aff’d, 93 F.3d 781 (Fed. Cir. 1996) (internal citations omitted). Thus, I will address
it first.

        Respondent noted that Petitioner’s declaration attesting to the severity
requirement is dated February 22, 2021 – which was only five months post-vaccination.
Status Report (ECF No. 23) at 2, citing Ex. 3 (ECF No. 8-4). While Respondent’s point is
accurate, the petition stated that Petitioner “continue[d] to suffer from SIRVA, and “ha[d]
an injury which is being treated and will more likely than not require more than six months
of treatment.” Petition (ECF No. 1) at ¶¶ 6, 8 (emphasis added). The circumstances in
which the Petition was filed are relevant – for at that time there was widespread concern
that SIRVA claims were to be eliminated from the Vaccine Injury Table. Id. at n. 1; see
also 85 FR 43794-01 (July 20, 2020, notice of proposed rulemaking); 86 FR 6249 (final
rule issued January 21, 2021, providing effective date of February 22, 2021); 86 FR 9308-
01 (Feb. 12, 2021 (notice delaying effective date until April 23, 2021). I am not inclined to
find that this error detracts from Petitioner’s credibility, see Response at n. 4, but it may
warrant some adjustment of her counsel’s associated attorneys’ fees and costs.

       The medical records otherwise reflect that Petitioner sought regular medical care
for her left shoulder leading up to a February 2, 2021, subacromial steroid injection. Ex.
13 at 49-51. Seven days later at physical therapy, she reported no pain but “continue[d]
to demonstrate [muscular] tightness”; she was instructed to continue home exercises and
avoid strenuous activity. Ex. 9 at 47-48. Following an approximately one-month gap in
treatment, she reported that the cortisone shot “helped but [was] wearing off,” and she
was documented to have left shoulder pain (rated at 1-3/10) and objective limitations by
a new therapist on March 17 and March 27, 2021. See generally Ex. 15.

        The filed evidence thus documents a shoulder injury lasting just over “6 months
after the administration of the vaccine,” even if Petitioner could not establish severity at
the date of the case’s initiation. (This same evidence also, however, documents a mild
SIRVA – something relevant to any damages to be awarded in this case.)




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       B. Situs

      The parties primarily dispute whether Petitioner received the subject flu vaccine in
her left arm as alleged, rather than in her right arm as documented on the
contemporaneous medical records. Ex. 12 at 7, 9.

        Medical records that are contemporaneous, clear, and consistent on a specific
factual issue are presumed to be reliable, and therefore usually accorded more weight
than later statements. Ms. Axelrod argues that this proposition does not apply in her case
because of the “Data Portability” record. Reply at 5 (citing Ex. 1 at 3). However, this record
is not clearly contemporaneous,9 and it omits the key fact of situs, rather than conflicting
with the CMC Urgent Care record on that point.

        CMC Urgent Care created the single most contemporaneous medical record on
the disputed fact of situs – and it clearly points towards a finding of the right upper arm.
Response at 7 (citing Ex. 12 at 7-9). However, this record is not as persuasive as the
evidence in the prior case cited by Respondent. Response at 7, citing Schmidt v. Sec’y
of Health & Human Servs., No. 17-1530V, 2021 WL 5226494 (Fed. Cl. Spec. Mstr. Oct.
7, 2021). In Schmidt, upon declining to favor the petitioner’s later statements regarding
situs, I noted that the vaccine administration record was “completed by hand… signed by
both the vaccine administer and Petitioner… is consistent with the notes in [Mr. Schmidt’s]
electronic medical record [and…contains signatures from multiple vaccine administrators,
suggesting that the site of injection is not recorded in advance and requiring thought on
the part of the administrator.” Schmidt, 2021 WL 5226494, at *8. Mr. Schmidt did not
successfully challenge the reliability of the subject medical record, and moreover, it was
consistent with other records of earlier vaccinations. Id. at *8-9.

       Here, by contrast, there is only one record indicating situs. This record was
electronic and most likely involved a prepopulated form (based on my experience
reviewing such records in deciding other SIRVA claims). It was also not signed by
Petitioner. The record does not indicate final approval by either the “vaccinator” or by
Petitioner herself.




9 Based on its heading and its contents, this record may instead represent a “snapshot” of the medical
history, for Petitioner to present to new providers.


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         Moreover, Petitioner has introduced a credible, specific reason to doubt the
reliability of the relevant medical record. CMC Urgent Care’s webpage from the time in
question reflects special procedures to facilitate an increased volume of patients and a
focus on COVID-19 testing. See generally Ex. 25. The webpage does not expressly state
that a patient must remain in his or her vehicle – but that would be feasible for the
procedures involved (temperature, pulse, oxygen, a limited physical exam, and a nasal
swab), as Petitioner has argued. Reply at 8. While CMC Urgent Care was offering certain
other procedures that would necessitate exiting the vehicle (e.g., x-rays), it was “doing
almost exclusively COVID-19 testing.” Ex. 25 at 2. Petitioner’s own primary purpose was
to obtain COVID-19 testing; receipt of the flu vaccine appears to have been a secondary
issue. Ex. 12 at 8. I find that the vaccine’s administration also would have been feasible
with Petitioner remaining in the driver’s seat of her car, exposing her left shoulder. That
would be consistent with Petitioner’s previous receipt of at least one prior vaccine in her
non-dominant left arm.

        In addition, I accord some weight to the medical records in which Petitioner
reported that her recent vaccination caused her left shoulder pain – as “information
supplied to…. health professionals” intended to facilitate diagnosis and treatment.
Cucuras, 993 F.2d at 1528. And Petitioner has provided additional support by way of a
fact witness’s affidavit. Thus, upon consideration of all the available evidence, I find that
the September 22, 2020, flu vaccine was more likely administered in Ms. Axelrod’s left
arm, as alleged.

       C. Onset

       In his preliminary review and analysis, Respondent maintained that “the record
does not support” onset occurring within 48 hours after vaccination. Status Report (ECF
No. 23) at 2 and n. 1. Despite my invitation for briefing on any factual or legal issue raised
by Respondent, this was not addressed in the Motion or Response, only the Reply –
which does not address the cited physical therapy records. I will therefore review the
record as a whole.

        I recognize that the first post-vaccination medical records do not contain any
information about the subject vaccination or Petitioner’s left shoulder injury. However,
those encounters were focused on other concerns, and some were inherently limited by
the telemedicine context. Additionally, those encounters were within approximately the
first month after vaccination – a period during which individuals often believe that they are
experiencing routine post-vaccination pain which will self-resolve.

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        Once Petitioner began to seek medical treatment for her shoulder injury, however,
she consistently faulted the vaccination. She first placed onset as generally “since” the
vaccination occurring five weeks earlier. Ex. 10 at 7; Ex. 13 at 38. Respondent only
identifies that the November 11, 2020, PT initial evaluation lists onset as “9/28/20.” Ex. 4
at 18. This date may have been generated from Petitioner’s history that “about 6 weeks
ago had a flu shot and ended up with bursitis.” Id. (emphasis added). However, the
vaccine was in fact administered seven weeks plus a day before the PT initial evaluation.
Thus, the recorded history is internally inconsistent – too much so to give it much weight
either way. A preponderance of the evidence ultimately supports onset as likely having
occurred within 48 hours of vaccination.

    V.        Conclusion and Scheduling Order

        Based on recent data about the general processing times for SIRVA claims in
general, I expect that Respondent will complete his medical review and form his tentative
position in this case in approximately November 2022. I have not received both parties’
positions, and thus have yet to formally consider whether Petitioner’s injury meets all
criteria for a Table SIRVA. However, in the light of the above findings and my preliminary
review of the evidence overall, Petitioner shall proceed with preparing a demand for
Respondent’s consideration if she has not already done so. I understand that Respondent
cannot provide a response to this demand until he has formulated his position. However,
the parties should strive to be in a position to immediately discuss damages once
Respondent indicates he is amenable to consideration of Petitioner’s demand after
Respondent’s review is complete. In addition, it is sensible for Petitioner to calculate the
likely damages as quickly as possible in any case pending in SPU.

       Accordingly:

       •   By no later than Tuesday, November 8, 2022, Petitioner shall file a status
           report indicating the date by which she conveyed or intends to convey a
           demand to Respondent.

       •   By no later than Monday, November 28, 2022, Respondent shall file a
           status report updating on his tentative position. If Respondent intends to
           either concede or explore informal resolution of the case, the status report shall
           reflect the date by which Respondent responded, or intends to respond, any
           demand received from Petitioner. If Respondent wishes to file his report
           pursuant to Vaccine Rule 4(c), the status report shall propose a deadline for
           doing so.

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IT IS SO ORDERED.
                                        s/Brian H. Corcoran
                                        Brian H. Corcoran
                                        Chief Special Master




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